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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 DEAN WARREN EWING and LESLIE                  §
 RENE EWING,                                   §
                                               §
       Plaintiffs,                             §
                                               §
 v.                                            §    2:20-CV-127-M-BR
                                               §
 FARM SERVICE AGENCY et al.,                   §
                                               §
       Defendants.                             §

            ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       Before the Court is Plaintiffs Dean Warren Ewing and Leslie Rene Ewing’s Brief on their

Administrative Procedure Act claims. (ECF 38). The United States Magistrate Judge made

Findings, Conclusions, and a Recommendation regarding the motion. (ECF 41). Plaintiffs filed

objections on October 12, 2021. (ECF 45). Defendants filed a response to Plaintiffs’ objections on

October 27, 2021. (ECF 46). The District Court has made a de novo review of the portions of the

proposed findings and recommendation to which objections were made. The objections are

overruled. Accordingly, the Court ACCEPTS the Findings, Conclusions, and Recommendation

of the United States Magistrate Judge, and Plaintiffs’ claims under the Administrative Procedure

Act are DISMISSED.

       SO ORDERED, this 28th day of October, 2021.
